Case 2:05-cv-02200-.]DB-dkv Document 19 Filed 08/16/05 Page 1 of 4 Page|D 24

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UNITED sTATES DISTRICT COURT ‘
FoR THE wESTERN DISTRICT oF TENNESBEBJG 16 AH H: 28
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for the use of the
TENNESSEE vALLEY AUTHoRITY
Plainaff

 

v. No. 05-2200-]3 -P

EASEMENTS AND RIGHTS-OF-WAY
OVER A TOTAL OF 11.36 ACRES OF

LAND, MORE OR LESS, IN FAYETTE
COUNTY, TENNESSEE

ERNEST B. WILLIAMS, IIl, ET AL.
Defendants

 

 

ORDER ALLOWING WITHDRAWAL OF FUNDS

 

This action came on to be considered, and it appears to the Court that the
parties have agreed that the $100,000 deposited by Plaintiff in this action upon the
filing of the Declaration of Taking herein be withdrawn as hereinafter provided
pursuant to 40 U.S.C. § 258a (20()()) and Federal Rule of Civil Procedure 71A@).

Accordingly, it is Ordered that:

l. The Clerk of this Court is authorized and directed to draw a check
on the funds on deposit in the registry of this Court in the amount of $lO0,000

payable to “Ernest B. Williams, lll, individually and as trustee of the David G.

  
 
 

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Williams, Jr., trusts - on behalf of all Defendants” and to mail said check to
George T. Lewis, III, Esq., Baker, Donelson, Bearman, Caldwell and Berkowitz,
P.C., First Tennessee Building, 165 Madison Avenue, Suite 2000, Memphis,
Tennessee 38103.

2. Said payment shall be credited against the final award in this action
without prejudice to the right of any party herein to claim a greater or lesser
amount as just compensation

3. Defendants Ernest B. Williams, III, Billie Anne Williams, David G.
Williams, Jr., and Anne Williams Dunn shall be jointly and severally liable for the
reimbursement of any excess of said disbursement over the final award herein.

Said reimbursement, if applicable, shall be made by mailing to Plaintiff’s General

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Counsel, within 10 days from the date judgment is entered in this action, a check

payable to the Tennessee Valley Authority in the amount of said difference

ThiS /`§`A' day ar dew/5 / ,2005.

United States District Judge

We hereby approve and consent to the entry of thi Order:
Z¢,,J.`,,,:L_(g. gMJL /7 77£

 

 

Edwin W. Srnall GeorgZ:/Ll`. Lewis, III

Assistant General Counsel Bake Donelson, Bearman,
Tennessee Valley Authority Caldwell & Berkowitz, P.C.
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Tennessee BPR No. 012347 Mernphis, Tennessee 38103
Telephone 865-632-3021 Tennessee BPR No. 007018
Facsimi]e 865~632-6718 Telephone 901-526-2000

Facsimile 901-577-2303
Attorney for Plaintiff

Attorney for Defendants
003740698

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02200 was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

George T. Lewis

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ

165 Madison Ave.
Ste. 2000
l\/lemphis7 TN 38103

Philip .l Pfeifer

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Knoxville7 TN 37902--140

Don O. Whitehead

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Edwin W. Small

TENNESSEE VALLEY AUTHORITY
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Honorable .l. Breen
US DISTRICT COURT

